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                                              UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                  APPLE INC., a California corporation,           CASE NO. 11-cv-01846-LHK

                                 Plaintiff,                       SAMSUNG’S MOTION TO FILE
                                                                    DOCUMENTS UNDER SEAL
                          vs.

                  SAMSUNG ELECTRONICS CO., LTD., a
                    Korean business entity; SAMSUNG
                  ELECTRONICS AMERICA, INC., a New
                    York corporation; SAMSUNG
                  TELECOMMUNICATIONS AMERICA,
                    LLC, a Delaware limited liability company,
                 
                                  Defendants.
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                   1         Pursuant to Civil L.R. 7-11 and 79-5, and General Order No. 62, Defendants Samsung

                   2 Electronics Co. Ltd., Samsung Electronics America, Inc., and Samsung Telecommunications

                   3 America, LLC (collectively, “Samsung”) hereby bring this administrative motion for an order to

                   4 seal:

                   5             1. The confidential, unredacted version of Samsung’s Opposition to Apple’s Motion

                   6                for Partial Summary Judgment.

                   7             2. The confidential, undedacted version of the Declaration of David Hecht in Support

                   8                of Samsung’s Opposition.

                   9             3. Exhibits H, J1-J11, K1-K3, L, M, P1-P2, and S1-S2 to the Declaration of David

                 10                 Hecht in Support of Samsung’s Opposition.

                 11          Samsung has established good cause to permit filing items 1-3 under seal through the

                 12 Declaration of Bill Trac in Support of Samsung’s Administrative Motion to File Documents Under

                 13 Seal, filed herewith. In short, the above documents discuss, refer to, or comprise confidential

                 14 licensing information that Samsung has designated as HIGHLY CONFIDENTIAL –

                 15 ATTORNEY’S EYES ONLY under the protective order.

                 16          Item 4 contains materials that Apple has designated as confidential under the protective

                 17 order. Samsung expects that pursuant to Civil Local Rule 79-5(d), Apple will file a declaration

                 18 establishing good cause to permit the sealing of these materials.

                 19          Pursuant to General Order No. 62, Samsung’s entire filing will be lodged with the Court

                 20 for in camera review and served on all parties. A proposed redacted version of items 1-2 above

                 21 are attached as Exhibits 1 and 2 to this motion.

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                   1 DATED: April 2, 2012             QUINN EMANUEL URQUHART &
                                                      SULLIVAN, LLP
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                   4                                    By  /s/ Victoria Maroulis
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                                                          LTD., SAMSUNG ELECTRONICS AMERICA,
                   8                                      INC., and SAMSUNG
                                                          TELECOMMUNICATIONS AMERICA, LLC
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